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                                                                    CHAPTER 13 PLAN
                                                            UNITED STATES BANKRUPTCY COURT
                                                            NORTHERN DISTRICT OF MISSISSIPPI
                                                                                                                    CASE NO.      17-13779

 Debtor Dalton Clinton Middleton                                         SS# xxx-xx-5263            Median Income      Above           Below
 Joint Debtor Melissa Beck Middleton                                     SS# xxx-xx-5084
 Address 2512 Hood Ave. Tupelo, MS 38801-0000

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may
be confirmed. The treatment of ALL secured / priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of 60 months, not to be less than 36 months for below median income debtor(s),
or less than 60 months for above median income debtor(s).

(A)         Debtor shall pay $ 283.65 per weekly to the Chapter 13 Trustee. Unless otherwise ordered by the Court, an
            Order directing payment shall be issued to Debtor’s employer at the following address:
                                            Middleton & Tinsley Law Firm, PLLC
                                            PO Box 3219
                                            Tupelo MS
                                            38803-0000

(B)         Joint Debtor shall pay $   per (monthly / semi-monthly / weekly / bi-weekly ) to the Chapter 13 Trustee. Unless
            otherwise ordered by the Court, an Order directing payment shall be issued to Debtor’s employer at the following
            address:




PRIORITY CREDITORS.
Filed claims that are not disallowed to be paid in full or as ordered by the Court as follows:
Internal Revenue Service:                  $ 0.00                         @ 0.00                                    /month
Mississippi Dept. of Revenue:              $ 1,035.00                     @ 147.86                                  /month
Other/ Internal Revenue Service            $ 3,006.00                     @ 429.43                                  /month
Other/ Internal Revenue Service            $ 3,206.00                     @ 458.00                                  /month
Other/ Internal Revenue Service            $ 0.00                         @ 0.00                                    /month
Other/ Internal Revenue Service            $ 0.00                         @ 0.00                                    /month
Other/ Internal Revenue Service            $ 0.00                         @ 0.00                                    /month
Other/    MS Department  of Revenue        $   569.00                     @ 81.29                                   /month
Other/ MS Department of Revenue            $ 466.00                       @ 66.57                                   /month

DOMESTIC SUPPORT OBLIGATION DUE TO:
                                                                                    -NONE-
 POST PETITION OBLIGATION: In the amount of $ per month beginning .
 To be paid    direct,            through payroll deduction, or                                 through the plan.
                                                                                           -NONE-
 PRE-PETITION ARREARAGE: In the total amount of $ through shall be paid the amount of $ per month beginning
 To be paid        Direct           through payroll deduction             through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled
below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim filed herein,
subject to the start date for the continuing monthly mortgage payment proposed herein.
 MTG PMTS TO: Bancorp South                          BEGINNING 11/1/2017         @$          116.00    PLAN DIRECT
 MTG PMTS TO: Bancorp South Bank                     BEGINNING 11/1/2017         @$          777.00    PLAN DIRECT
 MTG ARREARS TO: -NONE-                               THROUGH                     $                 @$                 /MO*
                                                                                           (*Including interest at %)


 Debtor's Initials          DM        Joint Debtor's Initials MM                                     CHAPTER 13 PLAN, PAGE 1 OF 3
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MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
Creditor:         -NONE-              Approx. amt. due:                                                          Int. Rate:
Property Address:                     Are related taxes and/or insurance escrowed                                 Yes               No

NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) under
11 U.S.C. 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge. Such
creditors shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The portion of
the claim not paid as secured shall be treated as a general unsecured claim.
                                                                                                              PAY VALUE
                                                    910*      APPROX.                              INT.          OR AMT.
 CREDITOR'S NAME           COLLATERAL               CLM      AMT. OWED              VALUE         RATE             OWED
                                        2014 Honda Accord
                                        Hybrid 55798 miles
                                        Location: 2512 Hood
 American Honda                         Ave., Tupelo MS
 Finance                                38801                                      21,392.00    18,832.00   5.00%                 Pay Value
                                        2016 Hyundai Santa
                                        Fe 26758 miles
                                        Location: 2512 Hood
                                        Ave., Tupelo MS
 Ally Financial                         38801   X             34,074.00          19,642.00     5.00%          Amt. Owed
*The column for "910 CLM" applies to both motor vehicles and "any other thing of value" as used in the "hanging
paragraph" of 11 U.S.C. § 1325

SPECIAL CLAIMANTS including, but not limited to, co-signed debts, abandonment of collateral, direct payments by
Debtor, etc. For all abandoned collateral Debtor will pay $0.00 on the secured portion of the debt. Where the proposal is
for payment, creditor must file a proof of claim to receive proposed payment.
                                                                                                              PROPOSED
 CREDITOR'S NAME                COLLATERAL                              APPROX. AMT. OWED                    TREATMENT
                                                                                                     Disputed. Pay 0 until
                                                                                                             bankruptcy is
 IRS WITHHOLDING TAX                                                                   77,423.87                 complete.

STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows
(such debts shall not be included in the general unsecured total):

 CREDITOR'S NAME                               APPROX. AMT. OWED                 CONTRACTUAL MO. PMT. PROPOSED TREATMENT
 Dept Ed/Navient                               212,028.00                                     unknown Disputed. Pay 0 until
                                                                                                      bankruptcy is complete.

SPECIAL PROVISIONS for all payments to be paid through the plan, including, but not limited to, adequate protection
payments: -NONE-

GENERAL UNSECURED DEBTS totaling approximately $ 332,943.21 . Such claims must be timely filed and not
disallowed to receive payment as follows:       IN FULL (100%) or 0 % (percent) MINIMUM, or a total distribution of
$     , with the Trustee to determine the percentage distribution. Those general unsecured claims not timely filed
shall be paid nothing, absent order of the Court.

 Total Attorney Fees Charged $ 0.00
 Attorney Fees Previously Paid $ 0.00
 Attorney fees to be paid in plan $                                  0.00

The payment of administrative costs and aforementioned attorney fees are to be paid pursuant to Court order and/or local
rules.




 Effective: October 1, 2011                                                                      CHAPTER 13 PLAN, PAGE 2 OF 3
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 Automobile Insurance Co/Agent                                                     Attorney for Debtor (Name/Address/Phone # / Email)
 State Farm                                                                        Dalton Middleton
                                                                                   PO Box 3129
                                                                                   Tupelo, MS 38803
 Tupelo MS
 Telephone/Fax                                                                     Telephone/Fax 662-205-4749
                                                                                   Facismile No.  662-269-2424
                                                                                   E-mail Address rb@MLawMS.com

 DATE: October 20, 2017                                  DEBTOR'S SIGNATURE             /s/ Dalton Clinton Middleton
                                                         JOINT DEBTOR'S SIGNATURE       /s/ Melissa Beck Middleton
                                                         ATTORNEY'S SIGNATURE           /s/ Dalton Middleton




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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Dalton Clinton Middleton
 In re      Melissa Beck Middleton                                                                      Case No.   17-13779
                                                                                   Debtor(s)            Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on October 20, 2017, a copy of    Chapter 13 Plan was served electronically or by regular
United States mail to all interested parties, the Trustee and all creditors listed below.

 Terre M. Vardaman
 VARDAMAN13ECF@gmail.com

 U. S. Trustee
 USTPRegion05.AB.ECF@usdoj.gov


 Ally Financial
 Attn: Bankruptcy
 Po Box 380901
 Bloomington, MN 55438
 American Honda Finance
 Po Box 168088
 Irving, TX 75016
 AT&T
 PO Box 772349
 Ocala, FL 34477
 AT&T
 P.O.Box 5014
 Carol Stream, IL 60197
 Bancorp South
 2778 W Jackson St.
 Attn: Legal Department
 Tupelo, MS 38801
 Bancorp South Bank
 2778 W Jackson St.
 Attn: Legal Department
 Tupelo, MS 38801
 Barclays Bank Delaware
 100 S West St
 Wilmington, DE 19801
 Belk/Synchrony Bank
 PO Box 530940
 Atlanta, GA 30353
 Capital One
 Attn: Bankruptcy
 Po Box 30253
 Salt Lake City, UT 84130
 Credit One Bank Na
 Po Box 98873
 Las Vegas, NV 89193
 Dept Of Ed/Navient
 Attn: Claims Dept
 P.O. Box 9635
 Wilkes Barr, PA 18773
 Direct TV
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 PO Box 6550
 Englewood, CO 80155
 Direct TV
 P.O. Box 105261
 Atlanta, GA 30348
 First Heritage Credit
 2306 W Main St
 Tupelo, MS 38801
 Franklin Collection Service, Inc
 Po Box 3910
 Tupelo, MS 38801
 Internal Revenue Service
 Centralized Insolvency Operations
 PO Box 7346
 Philadelphia, PA 19101
 Kohls/Capital One
 Kohls Credit
 Po Box 3043
 Milwaukee, WI 53201
 MS Department of Revenue
 PO Box 1033
 Jackson, MS 39215
 NMMC CRNA Anesthesia
 PO Box 3488
 Dept. 05-004
 Tupelo, MS 38803
 North Mississippi Medical Center
 830 South Gloster Street
 Tupelo, MS 38801
 PayPal
 P.O. Box 45950
 Omaha, NE 68145-0950
 PayPal
 P.O. Box 45950
 Omaha, NE 68145-0950
 Paypal Credit
 PO Box 105658
 Atlanta, GA 30348
 Reed's
 PO BOX 230
 Tupelo, MS 38801
 Synchrony Bank/Amazon
 Attn: Bankruptcy
 Po Box 956060
 Orlando, FL 32896
 Tupelo Service Finance
 PO Box 1791
 Tupelo, MS 38802
 Tupelo Service Finance
 PO Box 1791
 Tupelo, MS 38802
 Webbank/dfs
 Dell Financial Services
 Attn: Bankruptcy
 PO Box 81577
 Austin, TX 78708



                                                                             /s/ Dalton Middleton
                                                                             Dalton Middleton
                                                                             Middleton & Tinsley Law Firm, PLLC
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